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    August 6, 2024                                                                                                   D: +1 202 383 5167
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    VIA ECF

    The Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re:       In re: Johnson & Johnson Talcum Powder Prods., Mktg., Sales Practices and Prods. Liability
              Litig., Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

            I write on behalf of Defendants Johnson & Johnson and LLT Management LLC (together,
    “Johnson & Johnson”). On July 19, 2024, the Court entered an Order asking the parties to show cause
    why it should not adopt the New Jersey State MCL Court’s July 19 findings of fact and conclusions of
    law on Johnson & Johnson’s Motion to Disqualify Andy Birchfield and Beasley Allen. See Dkt. 32984.
    The Court’s Order required the parties to do so by July 29. Id. It also contemplated that the parties would
    have the opportunity to reply to the opposing side’s responses by August 5.

             In compliance with the July 29 deadline, Johnson & Johnson filed its response to the Show Cause
    Order on July 25. See Dkt. 33026. In contrast, Beasley Allen elected not to file a substantive response to
    the Show Cause Order, instead submitting only a short, July 29 letter that referred generally to and stood
    on its prior briefing. See Dkt. 33033. With the Court’s permission, Birchfield and Beasley Allen then
    filed a brief on August 5, addressing the substance of Judge Porto’s July 19 findings of fact and
    conclusions of law for the first time. See Dkt. 33065. By waiting until August 5 to substantively address
    Judge Porto’s decision, rather than doing so on July 29, Birchfield and Beasley Allen have left Johnson &
    Johnson without an opportunity to reply to their substantive brief, which includes assertions that are
    contradicted by the evidentiary record and directly contrary to the plain text of the New Jersey Rules of
    Professional Conduct and precedential case law. Id.

           For these reasons, we respectfully request leave to file a reply to Birchfield’s and Beasley Allen’s
    August 5 brief. We ask that the Court permit us to do so on or before August 12.


    Respectfully,




    Stephen D. Brody


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    cc: All counsel of record (via ECF)




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